                                                                     Case 2:20-cv-02324-APG-VCF Document 100 Filed 04/12/21 Page 1 of 4



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                                                                                             UNITED STATES DISTRICT COURT
                                                               13
                                Las Vegas, Nevada 89145




                                                                                                     DISTRICT OF NEVADA
                                  10001 Park Run Drive




                                                               14
                                                                     GABRIELLE CLARK, individually and as                         Case Number:
                                                               15    parent and guardian of WILLIAM CLARK                   2:20-CV-02324-RFB-VCF
                                                                     and WILLIAM CLARK, individually,
                                                               16
                                                                                           Plaintiffs,
                                                               17                                                      NOTICE OF WITHDRAWAL OF
                                                                    vs.                                                        COUNSEL
                                                               18
                                                                     STATE PUBLIC CHARTER SCHOOL
                                                               19    AUTHORITY, DEMOCRACY PREP
                                                                     PUBLIC SCHOOLS, DEMOCRACY
                                                               20    PREP      PUBLIC       SCHOOLS,       INC.,
                                                                     DEMOCRACY PREP at the AGASSI
                                                               21    CAMPUS,          DEMOCRACY            PREP
                                                                     NEVADA LLC, SCHOOL BOARD of
                                                                     Democracy Prep at the Agassi Campus,
                                                               22    NATASHA TRIVERS individually and in
                                                                     her official capacity as Superintendent and
                                                               23    CEO, ADAM JOHNSON, individually and
                                                                     in his official capacity as Executive
                                                               24    Director and Principal, KATHRYN BASS
                                                                     individually and in her capacity as Teacher,
                                                               25    JOSEPH MORGAN, individually and in
                                                                     his official capacity as Board Chair,
                                                               26    KIMBERLY WALL individually and in her
                                                                     capacity as assistant superintendent, and
                                                               27    John & Jane Does 1-20,
                                                               28                         Defendants.
                                                                                                            Page 1 of 3
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                                                                1                         NOTICE OF WITHDRAWAL OF COUNSEL
                                                                2          NOTICE IS HEREBY GIVEN to the Court and all counsel that Jonathan O’Brien,
                                                                3 Esq. of the Law Office of Jonathan O’Brien is voluntarily withdrawing from this matter and

                                                                4 requests that he be removed from the CM/ECF service list and no longer receives notices or

                                                                5 otherwise have affirmative obligations in this matter. The law firm of Marquis Aurbach

                                                                6 Coffing will continue to serve as counsel for Plaintiffs in the above-entitled matter.

                                                                7          I hereby accept this withdrawal.
                                                                8 Dated this 9th day of April, 2021.                Dated this 9th day of April, 2021.
                                                                9

                                                               10 By:                                               By:
                                                                        Gabrielle Clark                                   William Clark
                                                               11       Plaintiff                                         Plaintiff
MARQUIS AURBACH COFFING




                                                               12          Dated this 9th day of April, 2021.
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                                                               13                                                 By
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                                                                    Submitted by:
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                                                                1                              CERTIFICATE OF SERVICE
                                                                2         I hereby certify that I electronically filed the foregoing NOTICE OF
                                                                3 WITHDRAWAL OF COUNSEL with the Clerk of the Court for the United States District

                                                                4 Court by using the court’s CM/ECF system on the 12th day of April, 2021.

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                                                               16 And Kimberly Wall

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                                                                  the State Public Charter School Authority
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                                                               25                                             /s/ Michelle Monkarsh
                                                                                                               an employee of Marquis Aurbach Coffing
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